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	&nbsp;&nbsp;&nbsp;Results of 2015 Circuit Court User Survey
	&nbsp;&nbsp;&nbsp;Chief Justice Rita B. Garman - Supreme Court 2016 Budget Testimony
	
	&nbsp;&nbsp;&nbsp;Chief Justice Rita B. Garman - Video to Illinois Problem-Solving Courts
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  Illinois Pattern Jury Instructions-Civil - 400.04 - revised September  2015
  Illinois Pattern Jury Instructions-Criminal - 5.12, 5.13, 5.14, 5.15, 13.39, 13.39A, 13.40, 13.40A &amp; 13.42 - approved October 30, 2015 
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Chief Justice Rita B. Garman  
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Citizen Self-Help


           Supreme Court Policy on Access for Persons with Disabilities (Supreme Court only) 
           Petit Juror Handbook
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   The Third Branch - A Chronicle of the Illinois Supreme Court
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           Understanding the Illinois Constitution (Illinois State Bar Association site)
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